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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  District ofDistrict
                                               __________     South Carolina
                                                                      of __________

                  United States of America                       )
                             v.                                  )
             MARQUIS JEROME POLLARD                              )      Case No.
                                                                 )                 2:21-mj-45
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  May 3, 2021                 in the county of               Beaufort                  in the
     Judicial          District of       South Carlina       , the defendant(s) violated:

            Code Section                                                   Offense Description
Title 18, United States Code,                Felon in Possession of a Firearm and Ammunition
Section 922(g)(1)




         This criminal complaint is based on these facts:
See attached Affidviat of S/A Jody Barboza




         ✔ Continued on the attached sheet.
         u                                                                                               Digitally signed by JODY
                                                                         JODY BARBOZA                    BARBOZA
                                                                                                         Date: 2021.05.04 15:13:44 -04'00'

                                                                                            Complainant’s signature

                                                                                           Jody Barboza, ATF S/A
                                                                                             Printed name and title

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Date:             05/04/2021
                                                                                               Judge’s
                                                                                               JJu
                                                                                                 udg
                                                                                                   d e’s signature

City and state:                 Charelston, South Carolina                  Molly H. Cherry, United States Magistrate Judge
                                                                                             Printed name and title
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                     IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH CAROLINA
                              BEAUFORT DIVISION

IN THE MATTER OF THE COMPLAINT
                                                         2:21-mj-45
                                               Case No. ___________
REGARDING MARQUIS JEROME
POLLARD



   AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR ARREST WARRANT
          I, Jody Barboza, being duly sworn, hereby depose and state as follows:
                  INTRODUCTION AND AGENT BACKGROUND
 1. I am an “investigative or law enforcement officer of the United States” within the meaning

    of Title 18, United States Code, Section 2510(7), that is, an officer of the United States

    who is empowered by law to conduct investigations and to make arrests for offenses

    enumerated in Title 18, United States Code, Section 2516.

 2. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms & Explosives

    (“ATF”) and have been so employed since August 2003. I have conducted numerous

    criminal investigations to include those involving violent crime. As an ATF SA, I have

    received training in federal firearms and narcotics laws and regulations at the ATF National

    Academy. I regularly refer to these laws and regulations during the course of my duties. I

    have received extensive training in federal firearms, explosives and narcotic laws, the

    identification and operation of firearms and criminal firearm investigations.        I have

    conducted investigations regarding firearms trafficking, violations committed by federal

    firearm licensees (FFL’s), and those involving the unlawful manufacture, possession and

    transfer of firearms. I have participated in numerous controlled buys of firearms and

    narcotics from targets of law enforcement investigations. I have conducted investigations

    into gang members, persons who commit crimes of violence, which include murder,
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   assaults, armed robberies, persons who deal in controlled substances, and persons who

   traffic in firearms and prohibited persons who possess firearms.

3. I am familiar with, and have participated in, all normal methods of investigation of such

   offenses, including, but not limited to, physical surveillance, electronic surveillance,

   general interviewing of witnesses, the interrogation of subjects, the use of search warrants,

   confidential informants, pen registers, toll records, wire intercepts, and the use of

   undercover agents.

4. This affidavit is submitted for the limited purpose of establishing probable cause that

   Marquis Jerome POLLARD committed the offense of being a felon in possession of a

   firearm and ammunition, in violation of Title 18, United States Code, Section 922 (g)(1).

5. The facts in this affidavit come from my personal observations, my training and experience,

   my review of relevant documents, and information obtained from other law enforcement

   officers and witnesses. This affidavit is intended to show merely that there is sufficient

   probable cause for the requested warrant and does not set forth all of my knowledge about

   this matter. Unless specifically indicated, all conversations and statements described in

   this affidavit are related in substance and in part. Where I assert that an event took place

   on a particular date, I am asserting that it took place on or about the date alleged.

                                  PROBABLE CAUSE
6. In March of 2021, ATF New Haven in Connecticut received information from CI-1

   regarding firearms that Quinn MOORING was ‘middle-manning’ for a source in South

   Carolina.

7. On April 19, 2021, ATF New Haven TFO Healey received information from CI-1 that

   he/she just spoke with MOORING and MOORING was ready to sell a firearm namely, a
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       9mm firearm and a drum magazine for $1,500.00. The meeting was scheduled to take

       place later in the day at a pre-determined location in New Haven, Connecticut.

    8. Later that same day, at approximately 1:32 PM, while conducting surveillance for the

       controlled purchase, ATF New Haven TFO Podsiad observed a red sedan drive by the meet

       location and park on Gilbert Street. The sedan was identified as a red Kia Optima bearing

       South Carolina registration 8907PE. ATF New Haven TFO Podsiad observed MOORING

       exit the Kia sedan from the front passenger seat. 1 A black male, later identified as Marquis

       POLLARD, exited the front driver’s seat. Both men walked to the rear of the vehicle where

       POLLARD opened the trunk and removed a plastic bag. Both MOORING and POLLARD

       walked to the location where CI-1 was waiting inside of the ATF special purpose vehicle

       (SPV). Upon reaching the ATF SPV, MOORING entered the back seat while POLLARD,

       holding the plastic bag, entered the front passenger seat.

    9. Once inside the ATF SPV, POLLARD removed the high capacity magazine from the

       plastic bag and handed it to CI-1. POLLARD then took out a black Glock firearm, later

       determined to be a Glock 17, Model Gen 5, 9mm handgun bearing serial number

       BSKX589, from a black plastic box. MOORING grabbed the firearm out of POLLARD’s

       hands and gave it to CI-1 while pointing out the night sights on the pistol. MOORING

       stated, “That’s Gen5 bro.” (Referring to the Glock Model Gen 5). As CI-1 began to count

       out the $1500.00 in ATF agent Cashier funds, MOORING instructed POLLARD to

       demonstrate how to put on the drum magazine. POLLARD then opened the high-capacity




1
 TFO Podsiad is familiar with MOORING through extensive investigation to include physical
surveillance of MOORING and his residence, CI identification, review of previous New Haven
Police Department arrest photographs, review of public social media accounts and through a
prior police investigation.
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       drum magazine packaging while CI-1 handed him the $1500.00. POLLARD then inserted

       the drum magazine and handed the firearm back to CI-1. POLLARD also demonstrated

       how to use a speed loader for the pistol magazine. POLLARD provided CI-1 with multiple

       grips for the pistol as well. After reviewing all the equipment that came with the firearm,

       POLLARD put it all back into the black plastic Glock box and gave it to CI-1. While

       POLLARD was counting out the $1500.00 in Agent Cashier Funds, MOORING

       introduced him to CI-1 as, “PI”. Upon completing the money count, POLLARD exited the

       vehicle. 2 This transaction was audio and video recorded.

    10. After the controlled purchase, agents conducted a query of the red Kia Optima bearing

       South Carolina registration 8907PE, which revealed the vehicle is currently registered to

       Cynthia Pollard Frazier with a listed address of 285 Midtown Drive, Apartment 202,

       Beaufort, South Carolina. 3 Investigators were able to identify POLLARD through review

       of multiple law enforcement database queries to include his South Carolina Driver’s

       License photograph, review of public social media accounts, and the review of previous

       New Haven Police Department arrest photographs. Investigators subsequently forwarded

       a still photograph of POLLARD obtained from covert cameras during the firearms

       transaction to law enforcement in South Carolina. Law enforcement positively identified

       him through prior police contacts and further identified him as the son of the Kia’s

       registered owner, Cynthia Pollard Frazier.




2
 It should be noted that during the debrief of CI-1 following the deal, he/she did not know
POLLARD’s identity, only that he was from New Haven, CT.
3
 Investigators believe that POLLARD is currently leaving the Kia sedan in New Haven, CT
while he uses his below-mentioned Saturn sedan to travel to and from South Carolina.
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11. ATF New Haven Special Agent Essing queried the purchased Glock pistol through ATF

   databases which revealed the firearm was a part of a recent multiple firearm sale in Port

   Royal, South Carolina. The query showed the firearm was purchased on April 11, 2021

   by Tahir Ademola BAILEY at Port Royal Gun and Pawn located at 2204 Mossy Oaks

   Road in Port Royal, South Carolina. ATF later received information from Port Royal Gun

   and Pawn that BAILEY purchased three 9mm pistols on March 26, 2021 and another two

   9mm Glock pistols on April 12, 2021, to include the Glock 17, Model Gen 5, 9mm pistol

   sold to CI-1 during the controlled purchase on April 19, 2021

12. On April 22, 2021, ATF New Haven and CI-1 conducted a controlled purchase of

   ammunition from MOORING in New Haven, Connecticut. During the transaction,

   MOORING provided CI-1 with ammunition contained in a black plastic Glock gun box

   with a visible firearm serial number on it. A query of the serial number revealed the firearm

   associated with the box was the second firearm purchased by BAILEY on April 11, 2021

   in South Carolina. While waiting for the transaction to take place, investigators observed

   MOORING arrive to the predetermined meet location in a 1996 Saturn Model SL1 bearing

   Connecticut registration 843DZR. Investigators were also able to observe the driver to be

   POLLARD. A query in the Connecticut Department of Motor Vehicle (DMV) database

   revealed the vehicle is currently registered to Elizabeth Pollard, who investigators believe

   to be POLLARD’s deceased relative, with a listed address in New Haven, Connecticut.

13. On April 27, 2021, I, Special Agent Jody Barboza, having received information from FBI

   based on their prior surveillance of POLLARD for federal human trafficking violations,

   went to Shell Pointe Apartments at 285 Midtown Drive to look for the Saturn Model SL1

   bearing Connecticut registration 843DZR.          FBI relayed information to ATF that
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   POLLARD frequently stayed at his mother’s apartment at 285 Midtown Drive. As

   previously mentioned, the Kia Optima that has been associated with POLLARD it

   registered to his mother and has 285 Midtown Drive as her address. Upon arriving at Shell

   Pointe Apartments, I did locate the Saturn backed into a parking spot near Building 285. I

   confirmed the vehicle license plate number to be 843DZR.

14. On April 22, 2021, I contacted the owner of Port Royal Gun & Pawn and collected ATF

   Form 4473, Firearms Transaction Record from Tahir BAILEY’s firearm sale and transfer

   of firearms of a Ruger LC9, Ruger EC9 and Glock 43 pistols on March 26, 2021 and the

   purchase of a Glock 17 and a Glock 19 pistol on April 12, 2021.

15. I was contacted on April 27, 2021, by the owner of Port Royal Gun & Pawn, that Tahir

   BAILEY came to Port Royal Gun & Pawn on April 26, 2021 and inquired about the

   cheapest guns in the store. The clerk told BAILEY he was not comfortable selling a gun

   to BAILEY and BAILEY left the store.

16. Later in the day on April 27, 2021, I was contacted by the owner of Port Royal Gun &

   Pawn that BAILEY had returned to Port Royal Gun and Pawn and attempted to purchase

   two pistols. While BAILEY was in the store, I responded to Port Royal Gun and Pawn and

   located a black Chevy Impala parked in the adjacent parking with South Carolina license

   plate number TWS841, registered to BAILEY. I further learned from Port Royal Gun &

   Pawn that BAILEY provided a SC license for identification during the NICS background

   check and that BAILEY’s background check was delayed. As a result, BAILEY did not

   leave the store with any firearms. I observed BAILEY, who I was able to identify based on

   his South Carolina DMV photo, wearing a bright red and black t-shirt and shorts, leave the

   store and drive away in the black Chevy Impala.
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17. I followed BAILEY as he left Port Royal Gun & Pawn and BAILEY drove directly to Shell

   Pointe Apartments, the same apartments where I had observed the Saturn with CT

   registration 843DZR parked. A few minutes later, I drove through the apartment complex

   and located BAILEY’s black Chevy Impala parked near Building 285 in Shell Point

   Apartments. BAILEY, in a bright red and black t-shirt and shorts, was standing outside of

   Building 285 on the sidewalk. An unknown black male was sitting in the passenger seat

   of BAILEY’s Chevy Impala with the passenger door open. I also observed the Saturn

   Model SL1 bearing Connecticut registration 843DZR was still parked in the same spot near

   Building 285 as earlier in the day.

18. On April 28, 2021, I was contacted by the owner of Port Royal Gun and Pawn and told that

   BAILEY called to inquire about picking up the firearms. Port Royal Gun and Pawn told

   BAILEY that he was not eligible to pick up the firearms due to his delayed background

   check.

19. On May 1, 2021, BAILEY went to Port Royal Gun and Pawn and asked to pick up the

   firearms. The clerk told BAILEY that he needed to pick the firearms up on a regular

   business day as May 1st was a Saturday.

20. On May 3, 2021, the owner of Port Royal Gun and Pawn called BAILEY and told him the

   firearms he purchased could be picked up after 1:00 p.m. that day.

21. On May 3, 2021, law enforcement officers conducted surveillance of 285 Midtown Drive

   in Shell Pointe Apartments (address associated with POLLARD where the black Saturn

   was parked), 90 The Hill, Lady’s Island (BAILEY’s residence) and Port Royal Gun &

   Pawn at 2204 Mossy Oaks Road, Port Royal.
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      22. At approximately 12:18 p.m., law enforcement saw BAILEY’s black Chevy Impala, with

         SC registration TWS841, drive into Shell Pointe Apartments. Law enforcement units

         surveilled BAILEY throughout the afternoon as he drove to various locations in and around

         Beaufort County.

      23. At approximately 2:52 p.m., BAILEY called Port Royal Gun and Pawn to ask if he could

         pick up the two firearms he had purchased.

      24. At approximately 3:00 p.m. BAILEY and an unknown female drove to Port Royal Gun

         and Pawn from Shell Pointe Apartments. BAILEY entered Port Royal Gun and Pawn

         alone and completed the sale of two pistols, a Mossberg MC1SC 9mm pistol, with serial

         number 049952CP, and a Glock 43X, Gen 5, 9mm pistol with serial number BTGA902.

         BAILEY was observed by law enforcement inside the store then leaving with the firearms

         and placing them inside his vehicle.

      25. Law enforcement surveilled BAILEY as he and the female passenger driver drove from

         Port Royal Gun and Pawn to KC Mike’s Smokin’ barbeque restaurant located at 2001

         Boundary St in Beaufort. BAILEY parked near the front entrance to KC Mike’s Smokin’.

      26. At approximately 3:25 p.m., law enforcement observed POLLARD driving the black

         Saturn SL1, drive into the commercial parking lot area surrounding KC Mike’s and saw a

         well-known (by local law enforcement) male named Muntee Green get into the Saturn’s

         front passenger seat.   Law enforcement then observed POLLARD drive around the

         commercial area and parking lots of KC Smokin’ and back out onto Boundary Street, on

         what appeared to be a “heat run” before POLLARD parked at KC Smokin’ near BAILEY

         at approximately 3:29 p.m. 4



4
    A “heat run” is known by law enforcement as an unpredictable route meant to evade any tails
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   27. At approximately 3:30 p.m., law enforcement observed POLLARD exit his vehicle and get

       into the driver’s seat of BAILEY’s car. BAILEY was in the passenger seat and the

       unknown female had gone into KC Mike’s. POLLARD was in the car briefly before he

       exited and went back to his black Saturn and opened the trunk. POLLARD was observed

       taking an empty, crumpled up blue bag out of his trunk and placing it in the rear passenger

       seat of BAILEY’s vehicle. POLLARD was observed moving items around in the back seat

       of BAILEY’s vehicle before moving the blue bag, that now had shape and weight, back to

       his black Saturn through the rear driver side passenger door. POLLARD was then observed

       walking into KC Mike’s. POLLARD exited KC Mike’s at approximately 3:33 p.m. and

       returned to the driver’s seat of the black Saturn. At that time, BAILEY had moved to the

       driver’s seat of his Chevy Impala and the unknown female got into the Impala’s front

       passenger seat.

   28. As law enforcement attempted to stop POLLARD, POLLARD sped off in the black Saturn

       in an attempt to evade law enforcement. POLLARD hit several curbs with the black Saturn

       and nearly collided with a law enforcement vehicle while driving through the commercial

       parking lot before exiting the parking lot onto Boundary Street. POLLARD then drove at

       a high rate of speed, reaching nearly 70 mph, while driving on the sidewalks. The

       sidewalks are an area that in the past I have seen several people walking, riding bicycles

       and operating motorized wheelchairs. POLLARD then took a right on Hogarth St and then

       a left on Polk Street. Law enforcement observed POLLARD’s black Saturn go airborne

       while making the turns. POLLARD then jumped the curb near 2801 Polk Street before he

       and the passenger, Green, exited the vehicle and ran through the residential neighborhood.



usually used by criminals when they want to move something or conduct illegal activities.
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   Law enforcement chased POLLARD over several fences and neighborhood yards and

   shrubbery before apprehending him at approximately 3:40 p.m. POLLARD had several

   scrapes and scratches all over his body and was bleeding due to his fleeing through thick

   brush and was seen by EMS and cleared.

29. Law enforcement conducted a tow inventory of the black Saturn driven by POLLARD.

   During the inventory, Law enforcement recovered:

      a.   four cell phones

      b. two computer tablets

      c. miscellaneous paperwork in the name of POLLARD, including correspondence

           from the 9th Circuit Solicitors Office dated January 27, 2021

      d. three firearms

               i. including the two firearms just purchased by BAILEY in their original

                  firearm boxes located in a blue bag on the driver side rear passenger

                  floorboard and a Smith and Wesson, SD40VE, 40 caliber pistol, with serial

                  number FZM2491, with a loaded extended 30 round magazine, found on

                  the passenger side rear floorboard

      e. approximately 22.54g of marijuana

      f. a red digital scale

      g. one large and one small glass jar both containing an odor of marijuana

      h. 15 rounds of .40 caliber ammunition in a box.

30. POLLARD, BAILEY and the female passenger in BAILEY’s car, identified as Shanya

   HIGGINS, were all separately Mirandized. All three waived their Miranda rights and

   agreed to talk to law enforcement. All three were separately interviewed.
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31. BAILEY told law enforcement he had purchased two firearms at Port Royal Gun and Pawn

   that day (May 3, 2021) and then he went to KC Mike’s to drop the guns off to a guy he

   does not know. BAILEY stated he does not own any firearms and has no reason to.

   BAILEY stated he has bought a total of six guns, all Glocks, to give to a guy he knows as

   “PI” that he used to work with at the port in Georgia. BAILEY stated he needed the money

   to buy a trailer and that “PI” gave him $200 per firearm. BAILEY stated when he purchases

   firearms from Port Royal Gun and Pawn his background is delayed because of his arrest

   for possession of marijuana. After BAILEY is cleared to pick up the firearms he meets

   “PI” in various places, including a parking lot behind Port Royal Gun and Pawn and KC

   Mike’s, to make the firearm transfers. BAILEY stated he is supposed to get paid $200

   when “PI” sells the firearms, but to date BAILEY has never been reimbursed by

   POLLARD for the cost of the firearms.

32. HIGGINS stated she knows POLLARD through her father Antonio Higgins, who is

   currently federally incarcerated.   HIGGINS stated she has purchased firearms for

   POLLARD in the past, but that she has stopped. HIGGINS stated she lives at Shell Pointe

   Apartments and POLLARD’s mother used to live there but POLLARD’s mother has

   recently moved out and the apartment is empty. HIGGINS stated she purchased firearms

   from Shepherd Tactical in Beaufort and that she sometimes would buy one firearm at a

   time and other times she bought multiple firearms during a single purchase. HIGGINS

   stated she would transfer the firearms to POLLARD at Shell Pointe Apartments and

   POLLARD would give her the money for the purchase of the firearms in addition to $200

   per firearm. HIGGINS stated today, May 3, 2021, she contacted POLLARD to buy some
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   marijuana and told him to meet her at KC Mike’s. HIGGINS stated she introduced

   BAILEY to POLLARD because she knew BAILEY needed money.

33. As to the incident that occurred that day, May 3, 2021, POLLARD stated he knows

   HIGGINS through her father who is currently federally incarcerated. POLLARD stated he

   looks out for HIGGINS. POLLARD stated HIGGINS called him the afternoon of May 3,

   2021 and asked if he had any weed (marijuana) and that she was at KC Mike’s. POLLARD

   stated he met HIGGINS to give her the weed at KC Mike’s. Prior to meeting with

   HIGGINS, POLLARD saw Muntee (Green) in the area, who he knows and has given

   several rides home to, and he offered him a ride. POLLARD stated he smokes weed and

   he just looks out for HIGGINS so when she called, and he had weed available, he took it

   to her. POLLARD stated he had the weed in his hand when he exited his vehicle and got

   into the car HIGGINS was in. POLLARD stated, after giving HIGGINS the weed, he went

   inside KC Mike’s to use the bathroom and then left the restaurant before getting back in

   his vehicle and evading law enforcement. POLLARD stated he fled law enforcement

   because he does not have a valid license. POLLARD denied knowing anything about the

   firearms located in the black Saturn he was driving. POLLARD stated he did not know the

   male in the vehicle with HIGGINS other than he worked with him at the Savannah port

   before POLLARD was fired.

34. POLLARD stated he recently moved his dying mother, who lived at Shell Pointe

   Apartments, to Connecticut to be near his sister.

35. POLLARD stated he drove down from Connecticut a week ago Sunday (April 25, 2021),

   with a girl named Lindsay, in the black Saturn, which was a relative’s vehicle.
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36. POLLARD told law enforcement to check the firearms recovered in his vehicle that day

   for fingerprints and further stated the “feds” just had him (on charges) and he told them to

   “suck my dick” and the charges ended up being dismissed.

37. POLLARD stated he goes by the nicknames “Gonzo”, “Gonie B”, and “Parris Island”.

38. I requested ATF S/A Bryce Eikenberg, an interstate nexus expert, to make a determination

   of the international and/or interstate travel of the below listed firearms and ammunition:

       a. Mossberg MC1SC 9mm pistol, serial number 049952CP

       b. Glock 43X Gen 5 9mm pistol serial number BTGA902

       c. Smith and Wesson SD40VE 40 cal pistol serial number FZM2491

39. ATF S/A Eikenberg concluded all three firearms are “firearms” as defined in Title 18,

   United States Code, Section 921(a)(3) and it is S/A Eikenberg’s opinion, based on

   knowledge, research, and experience, that the firearms moved in international and/or

   interstate travel and therefore have traveled in and affected interstate commerce, as defined

   in Title 18, United States Code, Section 921(a)(2).

40. I have reviewed the NCIC criminal history for POLLARD and determined POLLARD has

   been convicted in the state of South Carolina of a crime punishable by a term of

   imprisonment exceeding one year.

41. POLLARD received a fifteen (15) prison year sentence for Burglary on or about May 21,

   2003, which, based on the length of the sentence, would tend to show POLLARD knew he

   had been convicted of a crime punishable by a term of imprisonment exceeding one year

   because he had actually received a sentence for substantially more than one year.

42. I also contacted the South Carolina Department of Probation, Parole, and Pardon services

   and determined POLLARD has not received a pardon as of April 30, 2021.
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   43. As outlined earlier, the facts contained in this affidavit are of my own personal knowledge

       as well as facts related to me by other law enforcement officers and official custodians of

       record.

                                        CONCLUSION
   44. Based on the above facts and circumstances, I request an arrest warrant be issued for

       Marquis Jerome POLLARD for felon in possession of firearm(s) and/or ammunition, in

       violation of Title 18, United States Code, Section 922(g)(1)



This affidavit has been reviewed by SAUSA Carra Henderson.
                                                                     Digitally signed by JODY
                                                     JODY            BARBOZA
                                                                     Date: 2021.05.04 15:12:37
                                                     BARBOZA
                                                    __________________________________
                                                                     -04'00'


                                                    Special Agent Jody Barboza
                                                    Bureau of Alcohol, Tobacco, Firearms and
                                                    Explosives


SWORN TO ME VIA TELEPHONE OR
OTHER RELIABLE ELECTRONIC MEANS
AND SIGNED BY ME PURSUANT TO
FED. R. CRIM. P. 4.1 AND 4(d) OR 42(d)(3)
AS APPLICABLE

this ____
       4 day of May 2021


_______________________________________
____
   ___
     _ ___________
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                                     ____
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Molly H. Cherry
         Cherrry
              r
United States Magistrate
              M gistrate Judge
              Ma
